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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     MICHAEL HAMM, JILL BROWN,
     AUSTIN RUSSELL, CHRISTIAN                          Civil Action: 5:19-cv-00488
     LAMMEY, NANCY JAMES, JILL
     WITTMAN, and THOMAS MACONE,                        Judge James S. Moody, Jr.
     individually and on behalf of themselves
     and all others similarly situated,                 Magistrate Judge Philip R. Lammens

                             v.

     SHARP ELECTRONICS CORPORATION,

                                   Defendant.


                      [PROPOSED] PRELIMINARY APPROVAL ORDER

           This matter is before the Court on Plaintiffs’ Unopposed Motion for Preliminary Approval

 of the Settlement Agreement that Plaintiffs Michael Hamm, Jill Brown, Austin Russell, Christian

 Lammey, Nancy James, Jill Wittman, and Thomas Macone (“Plaintiffs”) have reached with

 Defendant Sharp Electronics Corporation (“Sharp”). In connection with that Motion, the Court

 has considered and reviewed the following materials: (1) Plaintiffs’ Unopposed Motion for

 Preliminary Approval of the Settlement (the “Motion”), along with its accompanying declarations

 and other materials; and (2) the Settlement Agreement and Release and the exhibits attached

 thereto (the “Settlement Agreement”). 1 In addition, the Court has considered the arguments of

 counsel as well as the pleadings and record in this case. As part of the Settlement Agreement,

 Sharp is not objecting to the certification of the Settlement Class for settlement purposes only.

 Having considered all the foregoing materials and information, this Court finds that there is good

 cause for granting the Motion.


 1
  Unless otherwise stated, all defined terms herein have the meaning given to such terms in the Settlement
 Agreement.
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         THEREFORE, IT IS HEREBY ORDERED:

                             Conditional Certification of Settlement Class

         1.       For purposes of this proposed Settlement only, and pending final approval of the

 Settlement Agreement after a Final Approval Hearing, the Court finds that the prerequisites for a

 class action set forth pursuant to Rule 23 of the Federal Rules of Civil Procedure have been met,

 and, therefore, the Court provisionally certifies a nationwide Settlement Class consisting of the

 following, as more fully defined in paragraph 1.37 of the Settlement Agreement:

         All persons residing in the United States who, at any time during the Class Period,
         became the First Consumer Purchaser of a Class Microwave.

         2.       The Court finds that, based on Plaintiffs’ Motion for Preliminary Approval, which

 Sharp is not opposing for purposes of this Settlement only 2 that:

              a. The Settlement Class satisfies the requirements of Rule 23(a). The members of the

                  Settlement Class are so numerous that joinder is impracticable; there are questions

                  of law or fact common to the Settlement Class; Plaintiffs’ claims are typical of the

                  claims of the Settlement Class; and Plaintiffs and Class Counsel will fairly and

                  adequately represent the interests of the Settlement Class;

              b. The Settlement Class also satisfies the requirements of Rule 23(b)(3) because this

                  Court finds that issues of law and fact common to the Settlement Class predominate

                  over any issues affecting only individual members of the Settlement Class, and that




 2
   For purposes of approval of the Settlement, Sharp does not oppose the Motion. In the event the Settlement
 is not approved, Sharp reserves all rights, including, without limitation, (i) to respond to and oppose the
 consolidated complaint filed herein, including on jurisdictional grounds, (ii) to challenge Plaintiffs’ position
 as to satisfaction of each of the requirements for Rule 23 as to the proposed Class, and (iii) to oppose
 Plaintiffs’ assertions on any claims. In the event the Settlement is not approved, Plaintiffs reserve the right
 to amend the Consolidated Complaint.
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                settlement of this Action as a class action is superior to other means available for

                fairly and efficiently resolving the controversy; and

             c. The class definition is sufficiently ascertainable such that an individual can

                ascertain whether he or she is in the Settlement Class based on objective criteria.

        3.      The Court finds that the proposed Class Counsel are competent and capable of

 exercising their responsibilities, and that they and the proposed Class Representatives have fairly

 and adequately represented the interests of the Settlement Class.

        4.      The Court appoints as Class Counsel for the Settlement Class:

                a.      Gregory F. Coleman, Rachel Soffin, and Lisa A. White of Greg Coleman

                        Law PC;

                b.      Daniel K. Bryson and Harper Segui of Whitfield Bryson LLP; and

                c.      Andrea Gold and Hassan A. Zavareei of Tycko & Zavareei LLP.

        5.      The Court appoints Plaintiffs Michael Hamm, Jill Brown, Austin Russell, Christian

 Lammey, Nancy James, Jill Wittman and Thomas Macone (“Plaintiffs”) as Class Representatives

 for the Settlement Class in this Action.

                       PRELIMINARY APPROVAL OF SETTLEMENT

        6.      Under Federal Rule of Civil Procedure 23(e), the “claims, issues, or defenses of a

 certified class may be settled, voluntarily dismissed, or compromised only with the court’s

 approval.” Fed. R. Civ. P. 23. “In determining whether to approve a proposed settlement, the

 cardinal rule is that the District Court must find that the settlement is fair, adequate and reasonable

 . . ..” In re: Corrugated Container Antitrust Litigation, 643 F.2d 195, 206 (5th Cir. 1981) (citing

 Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)); see also Greco v. Ginn Dev. Co., LLC,

 635 F. App’x 628, 632 (11th Cir. 2015); Fed. R. Civ. P. 23(e)(2).



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        7.      A strong presumption exists in favor of a settlement’s fairness. Parker v. Anderson,

 667 F.2d 1204, 1209 (5th Cir. 1982); Cotton, 559 F.2d at 1331. Settlements are “highly favored”

 and “will be upheld whenever possible because they are a means of amicably resolving doubts and

 preventing lawsuits.” Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426, 428 (5th Cir. 1977). The

 public policy favoring settlement agreements is particularly strong in complex class action

 litigation where voluntary pretrial settlements obviate the need for expensive and time-consuming

 litigation. See Bass v. Phoenix Seadrill/78, Ltd., 749 F.2d 1154, 1164 (5th Cir. 1985); Manchaca

 v. Chater, 927 F. Supp. 962, 966 (E.D. Tex. 1996). Absent fraud or collusion, trial courts should

 be hesitant to substitute their own judgment for the judgment of counsel in arriving at a

 settlement. Cotton, 559 F.2d at 1330.

        8.      The Eleventh Circuit Court of Appeals uses a six-factor test for assessing the

 fairness, reasonableness, and adequacy of a class settlement. The factors are: (a) whether the

 settlement was a product of fraud or collusion; (b) the complexity, expense, and likely duration of

 the litigation; (c) the stage of the proceedings and the amount of discovery completed; (d) the point

 on or below the range of possible recovery at which a settlement is fair, adequate and reasonable;

 (e) the possible range of recovery and the certainty of damages; and (f) the respective opinions of

 the   participants,   including   class   counsel,   class   representatives,   and   absent   class

 members. See Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984), citing 1982-2 Trade

 Cas. at 72, 106, citing, inter alia, Container II, 643 F.2d at 207-08; Cotton, 559 F.2d at 1330-

 31; Miller, 559 F.2d at 428-29.

        9.      Based on review of the record, the manner of negotiation, and the Settlement

 Agreement, there is no evidence indicating that the Settlement falls outside the requirements of the

 Eleventh Circuit’s test articulated above, and the Court concludes the Settlement is fair, adequate,



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 and reasonable. The terms of the Settlement Agreement, including all exhibits thereto, appear to

 be in the range of reason and are fair, reasonable, and adequate, and the Settlement Agreement is

 hereby preliminarily approved. This Order incorporates the Settlement Agreement, and terms used

 in this Order that are defined in the Settlement Agreement have the same meanings.

        10.      The Settlement Agreement provides comprehensive relief and compensation to

 eligible members of the Settlement Class. It was entered into after arm’s-length negotiations by

 experienced counsel on behalf of the Settlement Class.

        11.      As described in detail in the Settlement Agreement, these benefits include the

 following:

              a. Extended Warranty: All Class Members shall receive an extension of the existing

                 manufacturer’s warranty for Documented Arcing Claims 3 within any Class

                 Microwave. The Extended Warranty shall extend the term of the existing

                 manufacturer’s warranty of one (1) year for parts and labor, and five (5) years for

                 parts relating only to the magnetron tube, to an enhanced extended warranty of five

                 (5) years for Documented Arcing Claims.

              b. Treatment under Extended Warranty:

                     i. Replacement Microwave and Reimbursement of Labor and/or Service

                        Costs: The extended warranty includes the opportunity to receive a new

                        replacement Microwave, which is comparable to the existing Class




 3
    “Documented Arcing Claim(s)” means claim(s) for electrical arcing occurring within the
 waveguide part, and that may extend to the magnetron, of a Class Microwave as evidenced by (i)
 dated photographic evidence or other similar evidence, or (ii) written information from a non-party
 licensed appliance service contractor, in either case establishing the existence of the electrical
 arcing and the date or approximate date such claim arose. (See Exhibit 1, Settlement Agreement
 at section I.1.11).
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                   Microwave, in the event of a Documented Arcing Claim, along with

                   reimbursement of any labor and/or service costs in connection with the

                   Documented Arcing Claims of up to $150.00 per class member.

               ii. Cash Option and Reimbursement of Labor and/or Service Costs: In lieu of

                   a replacement Microwave, consumers who have a Documented Arcing

                   Claim during the extended five (5) year warranty period may select a $250

                   cash payment. Settlement Class Members who elect this cash payment

                   remain entitled to reimbursement of any labor and/or service costs in

                   connection with Documented Arcing Claims of up to $150.00 per

                   Settlement Class Member.

               iii. Voucher and Reimbursement of Labor and/or Service Costs: In lieu of a

                   replacement Microwave or Cash Payment, consumers who have a

                   Documented Arcing Claim may select a $500 voucher for Sharp-branded

                   merchandise. Settlement Class Members who elect this option remain

                   entitled to reimbursement of any labor and/or service costs in connection

                   with Documented Arcing Claims of up to $150.00 per Settlement Class

                   Member.

               iv. Consequential Damages: Settlement Class Members who elect either the

                   cash payment or voucher option may also seek reimbursement for

                   consequential damages of up to $200, for costs incurred to repair or cover

                   the opening in a Settlement Class Member’s kitchen cabinetry in which their

                   Microwave was installed.




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        12.     In addition, any Settlement Class Member who can establish, with documented

 proof, that their Class Microwave experienced a Documented Arcing Claim instance within five

 (5) years of the date of purchase or installation of their Microwave, who did not previously receive

 a replacement Microwave, is entitled to replacement of their Microwave, or to the cash or voucher

 option, as described herein. Thus, Settlement Class Members who no longer possess their

 Microwave, or who possessed a Microwave for a period beyond the five (5) year extended

 warranty, but experienced a Documented Arcing Claim within five (5) years of the date of purchase

 or installation of their Microwave, have an opportunity to participate in the Settlement.

        13.     There is no evidence of collusion or that Class Counsel placed their interests above

 those of the Settlement Class in negotiating this Settlement. The material terms of the Settlement

 were agreed to prior to the Parties’ discussion of attorneys’ fees, costs, and expenses, and any

 attorneys’ fees, costs and expenses awarded will be in addition to the relief provided to Settlement

 Class Members under the Settlement Agreement.

        14.     Pending further order of the Court, all litigation activity in this case unrelated to the

 Settlement is hereby stayed, and Sharp’s time to answer or otherwise move with respect to the

 Consolidated Amended Complaint is hereby extended to a date which is thirty (30) days after this

 stay is lifted. Any and all of Sharp’s defenses and challenges including but not limited to

 jurisdictional defenses, challenges to class certification, and challenges to Plaintiffs’ claims, are

 hereby preserved.

        15.     The Court retains exclusive jurisdiction to consider all further matters arising out

 of or connected with the Settlement Agreement.




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        16.     The Settlement Agreement is attached as Exhibit 1 to Plaintiff’s Memorandum in

 Support of Preliminary Approval of the Class Action Settlement and Related Matters. The Court

 approves the proposed Class Notice that is submitted as Exhibit C to the Settlement Agreement.




                                          CLASS NOTICE

        17.     The Court finds that the manner of mailing and dissemination of the Class Notice,

 as described in Part IV of the Settlement Agreement and the Declaration of Tiffaney Janowicz of

 Rust Consulting, constitutes the best practicable notice under the circumstances as well as valid,

 due, and sufficient notice to all persons entitled thereto, and that the Notice Plan complies with the

 requirements of Rule 23 and provides Settlement Class Members due process under the United

 States Constitution. The Class Notice is subject to further modification to insert the proper

 deadlines and as determined appropriate by the Settlement Administrator.

        18.     Promptly following entry of this Order, the Parties and Settlement Administrator

 shall prepare the final version of the Class Notice, incorporating into it the date of the Final

 Approval Hearing and the Opt-Out and Objection Deadlines based on the actual date determined

 by the Parties and the Settlement Administrator, as set forth below.

        19.     The U.S. Mail and electronic mail Class Notices shall be disseminated to the

 Settlement Class no later than 45 days after the entry of this Order. The, publication notices in

 Good Housekeeping and People, as well as the press release, digital and banner ad Class Notices

 shall be disseminated as soon as practicable after entry of this Order, but in no event later than 75

 days after entry of this Order.

        20.     The Court appoints Rust Consulting as the Settlement Administrator.



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           21.   The fees and costs of the Settlement Administrator shall be paid by Sharp.

           22.   The Settlement Administrator shall implement the Parties’ Notice Plan, as

 described in Part IV of the Settlement Agreement and the Declaration of Tiffaney Janowicz of

 Rust Consulting. The payment of fees and costs to the Settlement Administrator shall not be

 contingent upon any further action of the Court, including, without limitation, any decision on a

 Motion for Final Approval of the Settlement Agreement.

                                 FINAL APPROVAL HEARING

           23.   The Court will hold a Final Approval Hearing on ___________, 2020 at [TIME] in

 Courtroom 17 of the Sam M. Gibbons United States Courthouse, 801 North Florida Avenue,

 Tampa, Florida 33602, to determine the fairness, reasonableness, and adequacy of the Settlement

 Agreement, and to determine whether the proposed Settlement should be finally approved, and

 final judgment entered thereon. At the Final Approval Hearing, the Court will also consider Class

 Counsels’ Motion for Approval of Attorneys’ Fees and Expenses and Class Representative Service

 Payments. Any Class Member who follows the procedures set forth in the Settlement Agreement

 may appear and be heard at the Final Approval Hearing. The Final Approval Hearing may be

 continued or rescheduled without further notice to the Settlement Class.

           24.   All Objections and requests for exclusion from the proposed Settlement Class must

 be postmarked no later than the date stated on the Class Notice, a date that shall be 60 days after

 dissemination of the Class Notice. Class Members wishing to exclude themselves, make

 objections, or file claims must otherwise comply with the requirements set forth in the Class

 Notice.

           25.   Pending final approval, no Class Member, directly, representatively, or in any other

 capacity (other than a Class Member who validly and timely elects to be excluded from the



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 Settlement Class), shall commence, continue, or prosecute against Sharp, or any of the Released

 Parties any action or proceeding in any court or tribunal asserting any of the matters, claims, or

 causes of action that are to be released upon final approval pursuant to the Settlement Agreement,

 and are hereby enjoined from so proceeding. Upon final approval, all Class Members who have

 not previously filed a timely request for exclusion shall be forever enjoined and barred from

 asserting any of the matters, claims, or causes of action released pursuant to the Settlement

 Agreement, and any such Class Members will be deemed to have forever released any and all such

 matters, claims, and causes of action as provided for in the Settlement Agreement.

        26.     The Settlement Administrator shall provide Sharp and Class Counsel with copies

 of all Opt-Out requests no later than fourteen (14) days following the Opt-Out and Objection

 Deadline.

        27.     Class Counsel shall file with the Court their Motion for Final Approval of

 Settlement Agreement, including any motion for an award of attorneys’ fees, costs, and expenses

 and Service Payments for Class Representatives, at least fourteen (14) days before the Final

 Approval Hearing.

        28.     The Parties entered into the Settlement Agreement solely for the purpose of

 compromising and settling disputed claims. Sharp maintains that the Class Microwaves are free

 of defects and has at all times denied, and continues to deny, any wrongful act or omission alleged

 by Plaintiffs or that it owes any liability of any sort to Plaintiffs, or any Settlement Class Member.

 Nothing contained in the Settlement Agreement, in the documents relating to the Settlement

 Agreement, in the documents submitted in support of the Motion for Preliminary Approval, or in

 this Order, shall be construed, deemed, or offered as an admission by any of the Parties or by any




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 member of the Settlement Class, for any purpose in this Action, the Related Actions, or any other

 judicial or administrative action or proceeding of any kind, whether in law or in equity.

          29.   If, for any reason, the Settlement Agreement ultimately does not become effective

 including, but not limited to, if the Court does not give final approval to the Settlement Agreement,

 Section 10.5 of the Settlement Agreement shall govern the Parties’ rights and obligations, and the

 Parties shall proceed in all respects as if the Settlement Agreement and related documentation and

 orders had not been executed, and without prejudice in any way from the negotiation or fact of the

 Settlement or the terms of the Settlement Agreement.

          30.   Nothing stated in the Settlement Agreement or in this Order shall be deemed an

 admission or waiver of any kind by any of the Parties or used as evidence against, or over the

 objection of, any of the Parties for any purpose in this Action, the Related Actions, or in any other

 action or proceeding of any kind.

          IT IS SO ORDERED.



 Dated:                         , 2020
                                                       HON. JAMES S. MOODY, JR., U.S.D.J.
                                                       United States District Court
                                                       Middle District of Florida




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